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                         EXHIBIT 6
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                    OUTSIDE SALES REPRESENTATIVE AGREEMENT

           This Outside Sales Representative Agreement ("Agreement")
      is made and entered into this 27th day of December, 2018, by and
      between KORONA CANDLE Inc. having its principal place of
      business at 3994 Pepperell Way, Dublin, VA 24084 (KORONA) and
      Burgess Group having a principal place of business at 210 N.
      Walton Blvd., Suite #24, Bentonville, Arkansas 72712 (BG) The
      parties hereby agree as follows:

                             ARTICLE 1.       RECITALS

          1.01 KORONA is engaged in the business of selling those
     certain products as listed on Schedule A hereto, incorporated
     herein by reference, and as updated from time-to-time (the
     "Products").

           1.02 Sales Representative declares that it possesses the
      financial and physical resources to promote the sale and use of
      the Products of KORONA and is desirous of developing demand for
      and selling the Products as authorized herein. KORONA is
      desirous of having Sales Representative develop demand for and
      sell its Products on the terms and conditions set forth herein.

                            ARTICLE 2.     APPOINTMENT

           2.01 KORONA   hereby   appoints  Sales   Representative   as
      exclusive sales representative for the sale of the Products
      within the territory described in Schedule B attached hereto and
      customers described in Schedule C and incorporated herein.    The
      territory so described, and as may be subsequently enlarged,
      reduced, or otherwise changed in area with the mutual consent of
      the   parties  hereto,   is  hereinafter  referred   to   as  the
      "Territory."   During the continuance of this Agreement, KORONA
      shall not appoint any other or different person, firm, or
      corporation to sell the Products in the Territory.      Except as
      KORONA may authorize in writing hereafter, Sales Representative
      shall not sell any of the Products outside of the Territory.

           2.02 Sales Representative      shall    engage   in   the   following
      responsibilities:

           (a)   Represent KORONA in front of the customers and manage
                 the customer relationships;

           (b)   Provide a show room with dimensions of at least 10,000
                 square feet;




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           (c)   Provide a monthly sales report including all visiting
                 reports describing the Sales Representative's selling
                 efforts with each Customer;

           (d)   Continuously update lists and contact details of
                 KORONA's customers in a CRM and such CRM to KORONA on
                 request;

           (e)   Ensure all data received is protected and is stored in
                 a secured manner not available to any unauthorized
                 person; and

           (f)   Comply with all of KORONA's and KORONA's            customer's
                 policies,  procedures, and  professional            codes   of
                 conduct.

           2.03 Sales Representative shall not accept payments from
      customers in any form for sales obtained by Sales Representative
      from customers.

                            ARTICLE 3.     COMPENSATION

           3.01 KORONA  shall pay to Sales      Representative   BG  as
      compensation for its services, a commission of
      on all Walmart net invoiced sales over the annual sales baseline
                        KORONA shall also pay                    on all
      SAM's Club net invoiced sales, as there is no current    baseline
      business at SAM's, all sales at SAM's Club will be considered
      new incremental business.

      Separately, BG shall be paid                        on all Hobby Lobby
      net invoiced sales.

      KORONA shall pay the commissions by the 20th day of each month
      for all shipments paid for during the preceding calendar month.

      Additionally, BG shall be     paid a Retainer on Walmart Stores,
      Inc. business of               annually (monthly installments of




           3.02 Sales Representative shall not be entitled to a
      reimbursement of expenses unless Sales Representative incurs
      extraordinary expenses, provides KORONA a written request in
      advance  to  incur  such  expenses,  and receives  a  written
      authorization from KORONA stating that said expenses will be
      reimbursed.



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                                ARTICLE 4.       TERM

           4.01 This Agreement shall continue in full force for a
      period of three (3) years commencing from the date of this
      Agreement.   Notwithstanding, the foregoing this Agreement may
      also be terminated by either party giving written notice of its
      election to terminate at least thirty (30) days prior to the
      elected termination date.

                             ARTICLE 5.       OPERATIONS

           5.01 KORONA, at its own expense, shall furnish Sales
      Representative a reasonable supply of samples and advertising
      matter to be used by it in connection with its agency hereunder.
      Samples and advertising matter are the exclusive property of
      KORONA   and,   on   termination   of   this   Agreement,   Sales
      Representative shall return them to KORONA at KORONA's expense.

           5.02 KORONA shall have the absolute right to establish the
      prices, charges and terms governing the sale of the Products.
      In obtaining sales of the Products of KORONA, Representative
      shall   quote  only   the  prices  and   terms  provided  Sales
      Representative by KORONA and as may be revised from time-to-
      time.

           5.03 Sales Representative shall forward all orders promptly
      to  KORONA   and  each  order   shall  be  subject  to  KORONA's
      acceptance.   In all cases, rejections shall be given by written
      notice to the customer, with a copy to Sales Representative.
      Acceptance of an order shall be deemed to occur at the earlier
      of: (i) KORONA's written notice of acceptance to the customer,
      with a copy to Sales Representative; (ii) KORONA's rendering an
      invoice for the order; or, (iii) KORONA's failure to give
      written notice of rejection within sixty (60) days of KORONA's
      receipt of the order.

           5.04 Sales Representative shall have full authority to
      employ such salesmen at such compensation and on such other
      conditions as it deems proper to sell the Products in the
      Territory.   The contract which Sales Representative makes with
      such salesmen shall contain a provision that the salesmen are
      the employees of Sales Representative and are to be paid by it
      alone and, that in employing the salesmen, Sales Representative
      iS acting independently and not as an agent or attorney for
       KORONA.




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           5.05 Sales Representative shall assume and pay all the
      costs of conducting the sales agency hereunder, including
      commissions or other compensation to salesmen in its employ.

           5.06 KORONA shall furnish to each customer for whom Sales
      Representative receives an order which is accepted, KORONA's
      "Standard Warranty" covering the Products, as such warranty is
      established by KORONA from time-to-time. Said Standard Warranty
      shall contain a statement that no one is authorized to make any
      warranty or representation other than as set forth in the
      Standard Warranty, and the customer may not rely on any other
      warranty or representation.   Sales Representative shall make no
      other representations or warranties to potential or actual
      customers.

           5.07 Sales Representative shall use its best efforts to
      solicit orders in the Territory.      Sales Representative shall
      have the right to promote, solicit orders for, sell and/or
      otherwise market goods, equipment, and/or services manufactured
      or supplied by persons or firms other than FLORA, provided that
      if such goods, equipment and/or services compete directly or
      indirectly with the sale of the Products, Sales Representative
      shall first obtain the written consent of KORONA.

           5.08 Sales Representative is not an employee of KORONA for
      any purpose whatsoever but is an independent contractor. KORONA
      is   interested  only   in   the   results  obtained    by  Sales
      Representative, who shall have the sole control of its manner
      and   means  of   performing   under  this   Agreement.     Sales
      Representative represents and warrants that Sales Representative
      has established and independent trade and occupation and does
      not engage in the manufacture or distribution of the Products.

           5.09 Sales Representative shall abide by: a) all applicable
      federal, state and local law, rules and regulations, or the
      orders of any federal, state or local government properly
      exercising authority over the business operations of Sales
      Representative.

           5.10 Sales Representative shall carry insurance in amounts
      and form as requested by KORONA from time-to-time.

           5.11 During     the     term    of    this    Agreement,    Sales
      Representative    may    have    access   to    various   confidential
      information,     including      without    limitation,     proprietary
      information  relating  to  the  operations  of KORONA,  trade secrets,
      policies,    procedures,      operating    manuals,    specifications,



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     software, forms, signs, notices, displays, marketing techniques,
     outreach materials, financial information, customer information
     and other information (collectively "confidential information").
     During the term of this Agreement and at any time thereafter,
     Sales Representative shall maintain confidential and not misuse,
     misappropriate or disclose any of the confidential information
     disclosed to Sales Representative in connection with the
     performance of services hereunder, directly or indirectly, and
     to protect the confidentiality thereof, except as may be
     necessary   for   the   discharge  of   Sales   Representative's
     obligations hereunder or by law.

          5.12 Sales Representative is responsible for paying, when
     due, all income taxes, including estimated taxes, incurred as a
     result of the compensation paid to Sales Representative.   Sales
     Representative agrees to indemnify KORONA for any claims, costs,
     losses, or damages suffered by KORONA resulting from Sales
     Representative's failure to comply with this provision.    Sales
     Representative agrees to hold harmless and indemnify KORONA from
     any and all claims arising out of any injury, disability or
     death of Sales Representative.

                  ARTICLE 6.   INTERPRETATION AND ENFORCEMENT

          6.01 Any notice, request, demand or other communication
     required or permitted hereunder shall be deemed to be properly
     given when deposited in the United States mail, postage prepaid,
     or   when  deposited   with  a  public  telegraph   company  for
     transmittal, charges prepaid, addressed to the address set forth
     in the first paragraph above.

           6.02 The validity, interpretation and performance of this
      Agreement shall be controlled by and construed under the laws of
      the Commonwealth of Virginia, and submit to the exclusive
      jurisdiction of the state court located in Pulaski County,
      Virginia or the U.S. District Court for the Western District of
      Virginia (Roanoke Division) in which this Agreement is being
      executed.

           6.03 Sales Representative shall not assign this Agreement
      without the prior consent of KORONA, in writing.

           6.04 If any provision of this Agreement is held by a court
      of competent jurisdiction to be invalid, void or unenforceable,
      the remaining provisions shall nevertheless continue in full
      force without being impaired or invalidated in any way.




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           6.05 If any action at law or in equity is brought to
      enforce or interpret this Agreement, the prevailing party shall
      be entitled to attorney's fees and costs.

           6.06 This  instrument  contains  all  of   the  agreements,
      understandings,  representations,  conditions,   warranties  and
      covenants made between the parties hereto.     Unless set forth
      herein, neither party shall be liable for any representations
      made, and all modifications and amendments hereto must be in
      writing.

                       6.07   The   headings      in   this   Agreement     are   for
                 convenience only and shall not in any way affect the
                 interpretation or construction of the language of the
                 provisions to which they refer.

           6.08 Modifications  and  additions  to   this  Agreement,
      including are only valid if in writing and duly signed by both
      parties.

           6.09 This     Agreement      may       be   executed      in     multiple
      counterparts.

           6.10 KORONA may freely assign this Agreement and any of its
      rights, duties, and/or obligations under this Agreement without
      the express written authority of Sales Representative.     Sales
      Representative may not assign this Agreement not any of its
      rights, duties, and/or obligations under this Agreement without
      the prior written consent of KORONA.

           IN  WITNESS   WHEREOF,  the   parties  have   executed                 this
      Agreement on the day and year first written above.

      "KORONA"                          KORONA CANDLE, INC.




                                        By:                                        12/27/1
                                                       Cunningham
                                                  Director of Sal-        N. America



      "Sales Representative"
                                        (Signature)


                                         (Name Printed)




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                                  SCHEDULE A

                         Description of the Products

                                  Potpourri
                                  Wax Melts
                      All Candles Scented or Unscented
                                   Incense
                                Ash Catchers
                                   Sachets
                         All Dried Flower Products
                               Essential Oils
                                Warming Oils
                              Liquid Potpourri
                                  Gift Sets
                               Ceramic Burners
                                  Diffusers
           Or any other future products agreed to by both parties




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                                  SCHEDULE B

                               Key HQ Territory

                   (Walmart, SAM's Club in Bentonville, AR
                       Hobby Lobby in Oklahoma City, OK)




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                                    SCHEDULE C

                                        Customer

                          Walmart, SAM's Club and Hobby Lobby




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